UNITED STATE DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

WILLIE JAMES NEWMAN,
Plaintiff,

v. Case No.: lS-CV-Ol363

MICHAEL VAGNINI,
JEFFREY CLINE, and
PAUL MARTINEZ,

Defendants.

 

STIPULATION REGARDING EVIDENTIARY MATTERS

 

Defendants, by and through their counsel, Grant F. Langley, City Attomey, by Assistant
City Attorney Susan E. Lappen, along With plaintiff, by and through counsel Ronald Bornstein,
hereby stipulate that the jury Will not be presented With the following Subj ect matter areas:

l. The parties agree that they Will not present any statements, evidence, testimony or
argument regarding/from Brian Kozelek, Jeffrey Dollhopf, or Jacob Knight, regarding the
subject incident, other than to acknowledge that they Were present on scene, but that they Were
attending to plaintiffs brother, Travares Newrnan, Who Was also on scene.

2. The parties agree that they Will not present any statements, evidence, testimony,
or argument relative to any other events involving the l\/lilwaukee Police Department, or other
Milwaukee Police Department officers, Which have been reported in the media, including any
matters involving Frank Jude, Dontre Hamilton, Derel< Williams, or v Sylville Smith.
Additionally, the parties agree to not present any statements, evidence, testimony, or argument

relative to any other similar events involving other law enforcement agencies or other law

Case 2:15-Cv-01363-.]PS Filed 11/09/16 Page 1 of 6 Document 48

 

enforcement officers, like information regarding police shootings which have occurred in
Ferguson, MO and New York. Plaintiff will argue in the context of motions in limine that he
should be allowed to present evidence of other allegations of sexual assault by former Officer
Vagnini, pursuant to Rule 415 of the Federal Rules of Evidence, and/or other wrongful acts
allegedly committed by any of the defendants, pursuant to Rule 404(b). The defense opposes the
presentation of such evidence, and will accordingly present the Court with a relevant motion in
limine.

3. The parties agree to not present any statements, evidence, testimony or argument
regarding a) a meeting at a park which involved certain Milwaukee Police Department officers,
and which occurred in March, 2012; b) a bullet casing which was allegedly placed in an officer’s
mail slot at his work location; c) the receipt of psychological counseling or treatment by any
defendant officer, or any other MPD officer; d) any events wherein any defendant officer, or any
other MPD officer, Was drinking alcohol or was intoxicated; 3) the John Doe proceedings which
were held in 2012 relative to allegations of unlawful searching by MPD officers; f) and any
letters or other communications submitted to the l\/Iilwaukee County Circuit Court by former
relatives of any of the officers, in the context of the related criminal court proceedings

4. Counsel agree that no newspaper articles or social media postings regarding either
the events which are involved with the subject matter of this lawsuit, or any other events which
were related to allegations of unlawful searching by any Milwaukee police officer, including any

of the former officers named as defendants in this case, will be presented during the course of

trial. Depending on the Court’s rulings regarding motions in limine, witnesses may testify that '

other complaints were filed With the MPD regarding allegations of unlawful searching

techniques, after similar complaints were made public in late l\/larch, 2012.

2
Case 2:15-cv-01363-.]PS Filed 11/09/16 Page 2 of 6 Document 48

 

5. Counsel agree to not make mention of Defendant Vagnini’s current employer, or
the form of his current employment Mr. Vagnini may testify that he is currently employed, and
that he resigned from the l\/lilwaukee Police Department in 2013.

6. Counsel agree that they will not present any statements, evidence, testimony or
argument regarding the fact that former Officer Vagnini pleaded no contest to various criminal
charges levied against him in 2012. Plaintiffs counsel reserves the right to present evidence
regarding l\/Ir. Vagnini’s criminal convictions, pursuant to Rule 609. Defense counsel also
reserves the right to present evidence regarding Mr. Newman’s criminal convictions, pursuant to
Rule 609. Plaintiff s counsel also reserves the right to introduce the statements of
Mr. Vagnini and his lawyer, made at Mr. Vagnini’s sentencing hearing Defendants object to
these statements, and they are a subject of the parties’ motions in limine.

7. Counsel agree to not present any statements, evidence, testimony or argument
regarding the penalties assessed against Mr. Vagnini, as a result of the convictions entered
pursuant to his no contest pleas, including the terms of his incarceration or the fact of his
incarceration Defense counsel will be filing a motion in limine, to preclude information
regarding the circumstances surrounding the criminal charges levied against Mr. Vagnini in
2012.

8. Counsel agree that they will not present any statements, evidence, testimony or
argument asserting that any of the defendant officers were improperly hired, trained or
supervised However, the plaintiff maintains that in this case, he will pursue his claim that
Officers Cline and Martinez failed to intervene and stop an alleged unlawful search by then

Officer Vagnini.

3
Case 2:15-cv-01363-.]PS Filed 11/09/16 Page 3 of 6 Document 48

 

9. Counsel agree that they will not present any statements, evidence, testimony or
argument challenging the lawfulness of the stop and arrest of Mr. Newman, including the manner
by Which he was ordered out of his vehicle. However, the plaintiff maintains his claims
regarding the lawfulness of the manner by which he was searched

lO. Counsel agree that they will not provide any statements, evidence, testimony or
argument suggesting that Chief Flynn’s policing strategies, policies, training, job performance,
or conduct were unlawful The plaintiff, however, will maintain his failure to intervene claim as
against Officers Cline and Martinez.

ll. Counsel agree that they will not present any statements, evidence, testimony, or
argument regarding former Milwaukee Police Sergeant Jason Mucha, or any court proceedings
in which he was a party or witness.

l2. The parties will not make any reference to jurors as taxpayers, or that the
taxpayers would be responsible for any potential judgment that might be entered against any
defendant in this case.

13. The parties shall not make any reference, suggestion, or offer any evidence as to
any restraining orders against the plaintiff, Willie Newman, by his significant others and/or
wives.

l4. Subject to the Court’s determination as to relevance, copies of the surveillance
videos and photographs depicting the physical premises of Haji’s Red Hots, retrieved by l\/lPD
staff from MPD record retention facilities, may be admitted into evidence at trial without

foundation testimony as to their authenticity

4
Case 2:15-cv-01363-.]PS Filed 11/09/16 Page 4 of 6 Document 48

 

15. The parties agree that at all times material to the subject matter of this case,
Michael Vagnini, Jeffrey Cline, and Paul Martinez were acting under color of law, and within the

course and scope of their employment as Milwaukee police officers.

5
Case 2:15-cv-01363-.]PS Filed 11/09/16 Page 5 of 6 Document 48

 

f

Dated: // !LQ //é*

54 f
Dated: f/ f ‘°7 /_” /4'“

P.O. ADDRESS:

800 City Hall

200 East Wells Street
Milwaukee, Wl 53202
Telephone: 414-286-2667

Fax: 414~286-8550

Ernail: slappe@milwaukee.gov

 

1032-2015-2891/234120

CaSe 2215-CV-01363-.]PS Filed 11/09/16

BORNSTEIN LAW OFFICES SC

,M §§

s/Ronald ornstein

ATTORNEY RONALD BORNSTEIN
State Bar No. l005019

Attorney for Plaintiff

GRANT F. LANGLEY
City Attorney

 
 

sYSu§an E. Lappen
SUSAN E. LAPPEN
Assistant City Attorney
State Bar No. 01003567
Attorneys for Defendants

5

Page 6 of 6 Document 48

 

 

